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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-1799V
                                          UNPUBLISHED


    AMANDA BRESHEARS,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: February 15, 2023
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Laura Levenberg, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Austin Joel Egan, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES1

       On September 2, 2021, Amanda Breshears filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.2 (the “Vaccine Act”). Petitioner alleges that she suffered Guillain-Barré syndrome
(“GBS”) as a result of an influenza (“flu”) vaccine she received on November 9, 2018.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

        On September 6, 2022, a ruling on entitlement was issued, finding Petitioner
entitled to compensation. On February 14, 2023, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded a total of $98,967.26
(consisting of $92,500.00 in pain and suffering, $2,217.19 in past unreimbursable
expenses, and $4,250.07 in past lost wages). Proffer at 1-2. In the Proffer, Respondent

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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represented that Petitioner agrees with the proffered award. Id. Based on the record as a
whole, I find that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $98,967.26 (consisting of $92,500.00 in pain and suffering,
$2,217.19 in past unreimbursable expenses, and $4,250.07 in past lost wages) in
the form of a check payable to Petitioner. This amount represents compensation for
all damages that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                  )
 AMANDA BRESHEARS,                                )
                                                  )
                 Petitioner,                      )
                                                  )    No. 21-1799V
 v.                                               )    Chief Special Master Corcoran
                                                  )    ECF
 SECRETARY OF HEALTH AND HUMAN                    )
 SERVICES,                                        )
                                                  )
                 Respondent.                      )
                                                  )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On September 2, 2021, Amanda Breshears (“petitioner”) filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1

to -34 (“Vaccine Act” or “Act”), alleging that she suffered from Guillain-Barré syndrome

(“GBS”), as defined in the Vaccine Injury Table, following administration of an influenza (“flu”)

vaccine she received on November 9, 2018. Pet. at 1. On September 2, 2022, the Secretary of

Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is

appropriate for compensation under the terms of the Act for a Table GBS injury, and on

September 6, 2022, the Chief Special Master issued a Ruling on Entitlement finding petitioner

entitled to compensation. ECF Nos. 33, 35.

I.     Items of Compensation

       A.       Pain and Suffering

       Respondent proffers that petitioner should be awarded $92,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable
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expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $2,217.19. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       C.       Lost Wages

       Evidence supplied by petitioner documents that she incurred past lost wages related to

her vaccine-related injury. Respondent proffers that petitioner should be awarded past lost

wages in the amount of $4,250.07. See 42 U.S.C. § 300aa-15(a)(3)(A). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $98,967.26, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Amanda Breshears:                           $98,967.26

                                                     Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Director
                                                     Torts Branch, Civil Division


1 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future unreimbursed
expenses, future lost earnings, and future pain and suffering.


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                                         HEATHER L. PEARLMAN
                                         Deputy Director
                                         Torts Branch, Civil Division

                                         LARA A. ENGLUND
                                         Assistant Director
                                         Torts Branch, Civil Division

                                         /s/ AUSTIN J. EGAN
                                         Austin J. Egan
                                         Trial Attorney
                                         Torts Branch, Civil Division
                                         U.S. Department of Justice
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                                         Austin.J.Egan@usdoj.gov

Date: February 14, 2023




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